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 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     TIAN BAO GUO
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. 08-543 GEB
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE THE
10                                       )                DATE FOR SENTENCING
           v.                            )
11                                       )
     TIAN BAO GUO,                       )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Tian Bao Guo, by
15   and through his defense counsel, Bruce Locke, and the United States of America, by and through its
16   counsel, Assistant United States Attorney Michael Beckwith, that the date for sentencing presently
17   set for January 8, 2010 at 9:00 a.m., should be continued to January 15, 2010 at 9:00 a.m.
18          Mr. Beckwith has authorized Mr. Locke to sign this pleading for him. The reason for the
19   delay is that Mr. Locke must be in state court in Stockton as a witness.
20
21   DATED: January 5, 2010                              /S/ Bruce Locke
                                                   BRUCE LOCKE
22                                                 Attorney for Tian Bao Guo
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24
     DATED: January 5, 2010                           /S/ Bruce Locke
25                                                 For MICHAEL BECKWITH
                                                   Attorney for the United States
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29                                                    1
             Case 2:08-cr-00543-KJM Document 178 Filed 01/06/10 Page 2 of 2


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           IT IS SO ORDERED.
 7
 8   Dated: January 5, 2010

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10                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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